         Case 1:20-cv-00184-N/A Document 2              Filed 09/16/20   Page 1 of 22



             UNITED STATES COURT OF INTERNATIONAL TRADE
________________________________________________
                                                 :
WEGO CHEMICAL LLC                                :
                                                 :
                  Plaintiff,                     :
                                                 :
                  v.                             : Court No. 20-00184
                                                 :
UNITED STATES;                                  :
OFFICE OF THE UNITED STATES TRADE                :
REPRESENTATIVE; ROBERT E. LIGHTHIZER, U.S. :
TRADE REPRESENTATIVE; U.S. CUSTOMS &             :
BORDER PROTECTION; MARK A. MORGAN, U.S.         :
CUSTOMS & BORDER PROTECTION ACTING              :
COMMISSIONER,                                   :
                                                 :
                  Defendants.                    :
________________________________________________:

                                         COMPLAINT

       Plaintiff, by its undersigned attorneys, alleges the following:

  1.   This action concerns Defendants’ unlawful imposition of ad valorem tariffs on goods,

       imported by plaintiff, from the Peoples Republic of China pursuant to Section 301 of the

       Trade Act of 1974 (19 U.S.C. § 2411) (“Trade Act”). The United States Trade

       Representative (“USTR”) conducted an investigation into China’s unfair intellectual

       property policies and practices pursuant to Section 301 of the Trade Act. Section 304 of

       the Trade Act (19 U.S.C. § 2414) requires the USTR to determine what action to take, if

       any, within 12 months after initiation of the investigation. Within the 12 months following

       initiation of the investigation, the USTR determined to impose import tariffs on goods

       from China pursuant to Section 301(b) of the Trade Act on two groupings of tariff codes,

       commonly referred to as “List 1” and “List 2.” USTR subsequently implemented tariffs

       on additional tariff codes, known as “List 3” and “List 4A,” but failed to do so within 12
      Case 1:20-cv-00184-N/A Document 2              Filed 09/16/20      Page 2 of 22



     months after initiation of the investigation. Section 307 of the Trade Act (19 U.S.C. §

     2417) authorizes USTR to modify a prior valid action under Section 301(b), but does not

     authorize USTR to impose additional tariffs not tied to the acts, policies or practices that

     are the subject of the investigation. USTR’s determination to implement tariffs on List 3

     and List 4 was not a valid modification of its initial action because it was not based on the

     acts, policies or practices covered by the investigation. The arbitrary manner in which

     Defendants implemented the List 3 and List 4 tariff actions also violates the

     Administrative Procedure Act (“APA”). USTR: (1) failed to provide sufficient

     opportunity for comment, e.g., requiring interested parties to submit affirmative and

     rebuttal comments on the same day; (2) failed to consider relevant factors when making

     its decision, e.g., undertaking no analysis of the supposed “increased burden” imposed on

     U.S. commerce from the unfair policies and practices that it originally investigated; and

     (3) failed to connect the record facts to the choices it made. Despite receiving over 6,000

     comments, USTR was silent as to its consideration of those comments in promulgating

     List 3.

2.   The Court should set aside Defendants’ actions as ultra vires and otherwise contrary to

     law, as well as order Defendants to refund any duties paid by Plaintiff pursuant to List 3

     and/or List 4A with interest as provided by law.

                                     JURISDICTION

3.   The Court possesses subject matter jurisdiction over this action pursuant to 28 U.S.C. §

     1581(i)(1)(B), which confers “exclusive jurisdiction” to the Court over “any civil action

     commenced against the United States, its agencies, or its officers, that arises out of any

     law of the United States providing for . . . tariffs, duties, fees, or other taxes on the

                                              2
      Case 1:20-cv-00184-N/A Document 2              Filed 09/16/20      Page 3 of 22



     importation of merchandise for reasons other than the raising of revenue.” 28 U.S.C. §

     1581(i)(1)(B).

                                         PARTIES

4.   Plaintiff is an importer of various products subject to duties under List 3 or 4A.

5.   Defendant United States received the disputed tariffs and is the statutory defendant under

     5 U.S.C. § 702 and 28 U.S.C. § 1581(i).

6.   USTR is an executive agency of the United States charged with investigating a foreign

     country’s trade practices under Section 301 of the Trade Act and implementing

     “appropriate” responses, subject to the direction of the President. USTR conducted the

     Section 301 investigation at issue and made numerous decisions regarding List 3 and List

     4.

7.   Ambassador Robert Lighthizer currently holds the position of USTR and serves as the

     director of the Office of the USTR. In these capacities, he made numerous decisions

     regarding List 3 and List 4.

8.   Defendant U.S. Customs & Border Protection (“CBP”) is the agency that collects duties

     on imports. CBP collected payments made by Plaintiff to account for the tariffs imposed

     by USTR under List 3 and List 4.

9.   Defendant Mark A. Morgan is the Acting Commissioner of CBP. In this capacity, he

     oversees CBP’s collection of duties paid by Plaintiff under List 3 and/or List 4.Plaintiff

     has standing to sue because it is “adversely affected or aggrieved by agency action within

     the meaning of the APA. 5 U.S.C. § 702; 28 U.S.C. § 2631(i). Tariffs imposed by

     Defendants pursuant to List 3 and/or List 4A adversely affected and aggrieved Plaintiff

     because it was required to pay and did pay these unlawful duties.

                                              3
     Case 1:20-cv-00184-N/A Document 2               Filed 09/16/20    Page 4 of 22



                           TIMELINESS OF THE ACTION

10. A plaintiff must commence an action under 28 U.S.C. § 1581(i)(1)(B) “within two years

    after the cause of action first accrues.” 28 U.S.C. § 2636(i).

11. Plaintiff contests action taken by Defendants that resulted in List 3 and List 4 and the

    subsequent imposition of tariffs on Plaintiff. Notice of Modification of Section 301 Action:

    China’s Acts, Policies, and Practices Related to Technology Transfer, Intellectual

    Property, and Innovation, 83 Fed. Reg. 47,974 (Sept. 21, 2018). Plaintiff’s claims accrued

    at the earliest on September 24, 2018, when tariffs were first levied on goods on List 3

    pursuant to the USTR’s determination published in the Federal Register on September 21,

    2018. Id.

12. The instant action was filed within two years of the date that Plaintiff paid the List 3 and

    List 4A duties.

                                   RELEVANT LAW

13. Section 301 of the Trade Act authorizes USTR to investigate a foreign country’s trade

    practices. 19 U.S.C. § 2411(b). If the investigation reveals an “unreasonable or

    discriminatory” practice, USTR may take “appropriate” action, such as imposing tariffs

    on imports from the country that administered the unfair practice. Id. § 2411(b), (c)(1)(B).

14. Section 304 of the Trade Act requires USTR to determine what action to take, if any,

    within 12 months after the initiation of the underlying investigation. Id. § 2414(a)(1)(B),

    (2)(B).

15. Section 307 of the Trade Act (in pertinent part) allows USTR to “modify or terminate” an

    action taken pursuant to Section 301 of the Trade Act either when the “burden or

    restriction on United States commerce” imposed by the investigated foreign country’s

                                             4
      Case 1:20-cv-00184-N/A Document 2              Filed 09/16/20     Page 5 of 22



     practice has “increased or decreased” or when the action “is no longer appropriate.” Id. §

     2417(a)(1)(B), (C).

                               PROCEDURAL HISTORY

I.      USTR’s Investigation

16. On August 14, 2017, President Trump directed Ambassador Lighthizer to consider

     initiating a targeted investigation pursuant to Section 301(b) of the Trade Act concerning

     China’s laws, policies, practices, and actions related to intellectual property, innovation,

     and technology. Addressing China’s Laws, Policies, Practices, and Actions Related to

     Intellectual Property, Innovation, and Technology, 82 Fed. Reg. 39,007 (Aug. 17, 2017).

     According to the President, certain Chinese “laws, policies, practices, and actions” on

     intellectual property, innovation, and technology “may inhibit United States exports,

     deprive United States citizens of fair remuneration for their innovations, divert American

     jobs to workers in China, contribute to our trade deficit with China, and otherwise

     undermine American manufacturing, services, and innovation.” Id.

17. On August 18, 2017, USTR formally initiated an investigation into “whether acts, policies,

     and practices of the Government of China related to technology transfer, intellectual

     property, and innovation are actionable under [Section 301(b) of] the Trade Act.”

     Initiation of Section 301 Investigation; Hearing; and Request for Public Comments:

     China’s Acts, Policies, and Practices Related to Technology Transfer, Intellectual

     Property, and Innovation, 82 Fed. Reg. 40,213 (Aug. 24, 2017).

18. On March 22, 2018, USTR released a report announcing the results of its investigation.

     OFFICE OF THE UNITED STATES TRADE REPRESENTATIVE , Findings of the Investigation

     Into China’s Acts, Policies, And Practices Related to Technology Transfer, Intellectual

                                              5
       Case 1:20-cv-00184-N/A Document 2              Filed 09/16/20      Page 6 of 22



      Property, and Innovation Under Section 301 of The Trade Act of 1974 (Mar. 22, 2018),

      available at https://ustr.gov/sites/default/files/Section%20301%20FINAL.PDF. USTR

      found that certain “acts, policies, and practices of the Chinese government related to

      technology transfer, intellectual property, and innovation are unreasonable or

      discriminatory and burden or restrict U.S. commerce.” Id. at 17.

19. On March 22, 2018, USTR published a “Fact Sheet” stating that “[a]n interagency team

      of subject matter experts and economists estimate that China’s policies result in harm to

      the U.S. economy of at least $50 billion per year.” OFFICE OF THE UNITED STATES TRADE

      REPRESENTATIVE,      Section     301   Fact   Sheet   (Mar.   22,   2018),   available   at

      https://ustr.gov/about-us/policy-offices/press-office/fact-sheets/2018/march/Section-301-

      fact-sheet. USTR also indicated that, consistent with a directive from President Trump, it

      would “propose additional tariffs” of 25% ad valorem “on certain products of China, with

      an annual trade value commensurate with the harm caused to the U.S. economy resulting

      from China’s unfair policies.” Id.; see Actions by the United States Related to the Section

      301 Investigation of China’s Laws, Policies, Practices, or Actions Related to Technology

      Transfer, Intellectual Property, and Innovation, 83 Fed. Reg. 13,099 (Mar. 27, 2018)

      (President Trump’s directive).

II.      Lists 1 & 2

20. Between April and August 2018 (i.e., within the 12-month statutory deadline from the

      initiation of the investigation in August 2017, see 19 U.S.C. § 2414(a)(2)(B)), Defendants

      undertook a series of actions to remedy the estimated harm to the U.S. economy caused

      by the investigated unfair practices, ultimately imposing duties on imports from China

      covered by the so-called Lists 1 and 2.

                                                6
     Case 1:20-cv-00184-N/A Document 2               Filed 09/16/20     Page 7 of 22



21. On April 6, 2018, USTR published notice of its intent to impose “an additional duty of 25

    percent on a list of products of Chinese origin.” Notice of Determination and Request for

    Public Comment Concerning Proposed Determination of Action Pursuant to Section 301:

    China’s Acts, Policies, and Practices Related to Technology Transfer, Intellectual

    Property, and Innovation, 83 Fed. Reg. 14,906, 14,907 (Apr. 6, 2018). The products on

    the proposed list covered 1,333 tariff subheadings with a total value of “approximately

    $50 billion in terms of estimated annual trade value for calendar year 2018.” Id. at

    14,907.USTR explained that it chose $50 billion because that amount was “commensurate

    with an economic analysis of the harm caused by China’s unreasonable technology

    transfer policies to the U.S. economy, as covered by USTR’s Section 301 investigation.”

    OFFICE OF THE UNITED STATES TRADE REPRESENTATIVE, Under Section 301 Action, USTR

    Releases Proposed Tariff List on Chinese Products (Apr. 3, 2018), available at

    https://ustr.gov/about-us/policy-offices/press-office/press-releases/2018/april/under-

    section-301-action-ustr.

22. On June 20, 2018, USTR published notice of its final list of products subject to an

    additional duty of 25% ad valorem, a list commonly known as “List 1.” Notice of Action

    and Request for Public Comment Concerning Proposed Determination of Action Pursuant

    to Section 301: China’s Acts, Policies, and Practices Related to Technology Transfer,

    Intellectual Property, and Innovation, 83 Fed. Reg. 28,710 (June 20, 2018). USTR

    explained that it had “narrow[ed] the proposed list in the April 6, 2018 notice to 818 tariff

    subheadings, with an approximate annual trade value of $34 billion.” Id. at 28,711.

23. At the same time that it finalized List 1, USTR announced that it intended to impose a

    25% ad valorem duty on a second proposed list of Chinese products in order to “maintain

                                             7
        Case 1:20-cv-00184-N/A Document 2             Filed 09/16/20     Page 8 of 22



       the effectiveness of [the] $50 billion trade action” grounded in its Section 301

       investigation. Id. at 28,712. USTR announced a proposed “List 2” covering 284 tariff

       subheadings with “an approximate annual trade value of $16 billion.” Id. at 28,711-12.

24. On August 16, 2018, USTR published notice of the final list of products subject to an

       additional duty of 25% ad valorem in List 2, comprising “279 tariff subheadings” whose

       “annual trade value . . . remains approximately $16 billion.” Notice of Action Pursuant to

       Section 301: China’s Acts, Policies, and Practices Related to Technology Transfer,

       Intellectual Property, and Innovation, 83 Fed. Reg. 40,823, 40,823-24 (Aug. 16, 2018).

III.      List 3 and 4

25. Following USTR’s issuance of the results of its investigation in March 2018, Defendants

       broadly expanded the scope of the tariffs imposed under Section 301 of the Trade Act to

       cover imports worth more than $500 billion—ten times the amount it had deemed

       “commensurate” with the findings of USTR’s original investigation. Shortly after

       President Trump directed USTR in April 2018 to consider imposing duties on $50 billion

       in Chinese products, China promptly threatened to impose retaliatory duties on the same

       value of imports from the United States. In response, President Trump “instructed the

       USTR to consider whether $100 billion of additional tariffs would be appropriate under

       Section 301” due to “China’s unfair retaliation.” THE WHITE HOUSE, Statement from

       Donald J. Trump on Additional Proposed Section 301 Remedies (Apr. 5, 2018), available

       at https://www.whitehouse.gov/briefings-statements/statement-president-donald-j-trump-

       additional-proposed-section-301-remedies/.

26. When USTR finalized List 1 in mid-June 2018, President Trump warned China that he

       would consider imposing additional tariffs on Chinese goods if China retaliated against

                                               8
     Case 1:20-cv-00184-N/A Document 2               Filed 09/16/20     Page 9 of 22



    the United States. E.g., Vicki Needham & Max Greenwood, Trump Announces Tariffs on

    $50 Billion in Chinese Goods, THE HILL (June 15, 2018), available at

    http://thehill.com/homenews/administration/392421-trump-announces-tariffs-on-50-

    billion-in-chinese-goods (“The president said the United States will pursue additional

    tariffs if China retaliates ‘such as imposing new tariffs on United States goods, services or

    agricultural products; raising non-tariff barriers; or taking punitive actions against

    American exporters or American companies operating in China.’”).

27. On June 18, 2018, President Trump formally directed USTR to consider whether the

    United States should impose additional duties on products from China with an estimated

    trade value of $200 billion—despite USTR having not yet implemented List 1 and List 2.

    President Trump acknowledged that China’s threatened retaliatory “tariffs on $50 billion

    worth of United States exports” motivated his decision. THE WHITE HOUSE, Statement

    from the President Regarding Trade with China (June 18, 2018), available at

    https://www.whitehouse.gov/briefings-statements/statement-president-regarding-trade-

    china-2/ (“This latest action by China clearly indicates its determination to keep the United

    States at a permanent and unfair disadvantage, which is reflected in our massive $376

    billion trade imbalance in goods. This is unacceptable.”).

28. Acknowledging the purpose of the President’s directive, USTR stated that it would design

    the newly proposed duties to address China’s threatened retaliatory measures, rather than

    any of the harms identified in its Section 301 investigation. OFFICE OF THE UNITED STATES

    TRADE REPRESENTATIVE, USTR Robert Lighthizer Statement on the President’s

    Additional China Trade Action (June 18, 2018), available at https://ustr.gov/about-

    us/policy-offices/press-office/press-releases/2018/june/ustr-robert-lighthizer-statement-0

                                             9
     Case 1:20-cv-00184-N/A Document 2               Filed 09/16/20      Page 10 of 22



    (explaining that, although Lists 1 and 2 “were proportionate and responsive to forced

    technology transfer and intellectual property theft by the Chinese” identified in the Section

    301 investigation, the proposed duties for a third list of products were necessary to respond

    to the retaliatory and “unjustified tariffs” that China may impose to target “U.S. workers,

    farmers, ranchers, and businesses”).

29. China retaliated by imposing 25% ad valorem tariffs on $50 billion in U.S. goods

    implemented in two stages of $34 billion and $16 billion on the same dates the United

    States began collecting its own 25% tariffs under List 1 (July 6, 2018) and List 2 (August

    23, 2018).

30. About one week later, USTR published notice of its proposal to “modify the action in this

    investigation by maintaining the original $34 billion action and the proposed $16 billion

    action, and by taking a further, supplemental action” in the form of “an additional 10

    percent ad valorem duty on [a list of] products [from] China with an annual trade value of

    approximately $200 billion.” Request for Comments Concerning Proposed Modification

    of Action Pursuant to Section 301: China’s Acts, Policies, and Practices Related to

    Technology Transfer, Intellectual Property, and Innovation, 83 Fed. Reg. 33,608, 33,608

    (July 17, 2018). USTR initially set a deadline of August 17, 2018 for initial comments;

    August 20-23, 2018 for a public hearing; and August 30, 2018 for rebuttal comments. Id.

    at 33,608.

31. In its notice, USTR confirmed that it had relied on China’s decision to impose “retaliatory

    duties” as the primary basis for its proposed action. Id. at 33,609 (asserting as justification

    “China’s response to the $50 billion action announced in the investigation and its refusal

    to change its acts, policies, and practices”). USTR explicitly tied the $200 billion in its

                                             10
    Case 1:20-cv-00184-N/A Document 2                Filed 09/16/20      Page 11 of 22



    proposed action to the level of retaliatory duties imposed by China on U.S. imports, noting

    that “action at this level is appropriate in light of the level of China’s announced retaliatory

    action ($50 billion) and the level of Chinese goods imported into the United States ($505

    billion in 2017).” Id.; see also id. (Because “China’s retaliatory action covers a substantial

    percentage of U.S. goods exported to China ($130 billion in 2017),” “the level of the U.S.

    supplemental action must cover a substantial percentage of Chinese imports.”). Although

    it pointed to China’s retaliatory measures, USTR did not identify any increased burdens

    or restrictions on U.S. commerce resulting from the unfair practices that USTR had

    investigated. See id.

32. USTR’s contemporaneous press statements corroborated the contents of its notice:

    China’s retaliatory duties motivated its proposed action. Ambassador Lighthizer stated

    that the proposed action came “[a]s a result of China’s retaliation and failure to change its

    practice.” OFFICE   OF THE   UNITED STATES TRADE REPRESENTATIVE, Statement by U.S.

    Trade Representative Robert Lighthizer on Section 301 Action (July 10, 2018), available

    at                               https://ustr.gov/about-us/policy-offices/press-office/press-

    releases/2018/july/statement-us-trade-representative.

33. On July 10, 2018, President Trump suggested that the United States’ trade imbalance with

    China supported the decision. @realDonaldTrump, TWITTER (July 10, 2018, 9:17 PM

    EDT),    https://twitter.com/realDonaldTrump/status/1005982266496094209.             President

    Trump also expressed his frustration over China’s purported manipulation of its currency

    and national monetary policy, as well as his continued displeasure over China’s retaliatory

    tariffs and the trade imbalance between the two nations. See, e.g., @realDonaldTrump,

    TWITTER           (July          20,           2018,         8:43          AM            EDT),

                                              11
    Case 1:20-cv-00184-N/A Document 2               Filed 09/16/20      Page 12 of 22



    https://twitter.com/realDonaldTrump/status/1020287981020729344;

    @realDonaldTrump,         TWITTER       (July     20,     2018,      8:51     AM       EDT),

    https://twitter.com/realDonaldTrump/status/

   1020290163933630464; @realDonaldTrump, TWITTER (July 25, 2018, 7:20 AM EDT),

   https://twitter.com/realDonaldTrump/status/1022079127799701504; @realDonaldTrump,

   TWITTER (July 25, 2018, 7:01 AM EDT), https://twitter.com/realDonaldTrump/

   status/1022074252999225344.

34. On August 1, 2018, Ambassador Lighthizer announced that, in light of China’s retaliatory

    duties, USTR would propose to increase the additional duty from 10% to 25% ad valorem.

    Rather than addressing the practices that USTR investigated pursuant to Section 301 of

    the Trade Act, he stated that China “[r]egrettably . . . has illegally retaliated against U.S.

    workers, farmers, ranchers and businesses.” OFFICE         OF THE   UNITED STATES TRADE

    REPRESENTATIVE, Statement by U.S. Trade Representative Robert Lighthizer on Section

    301 Action (Aug. 1, 2018), available at https://ustr.gov/about-us/policy-offices/press-

    office/press-releases/2018/august/statement-us-trade-representative.

35. On August 7, 2018, USTR formally proposed “raising the level of the additional duty in

    the proposed supplemental action from 10 percent to 25 percent.” Extension of Public

    Comment Period Concerning Proposed Modification of Action Pursuant to Section 301:

    China’s Acts, Policies, and Practices Related to Technology Transfer, Intellectual

    Property, and Innovation, 83 Fed. Reg. 38,760, 38,760 (Aug. 7, 2018). USTR also set new

    dates for a public hearing over six days ending on August 27, 2018. See id.; see also

    OFFICE OF THE UNITED STATES TRADE REPRESENTATIVE, Public Hearings on Proposed

    Section 301 Tariff List (Aug. 17, 2018) (modifying hearing schedule), available at

                                             12
    Case 1:20-cv-00184-N/A Document 2             Filed 09/16/20     Page 13 of 22



    https://ustr.gov/about-us/policyoffices/press-office/press-releases/2018/august/public-

    hearings-proposed-section-301.

36. At the same time, USTR adjusted the deadlines for the submission of written comments,

    setting September 6, 2018—less than a month later—as the new deadline for both initial

    and rebuttal comments from the public. 83 Fed. Reg. at 38,761. That adjustment, deviating

    from its past practices, prevented both USTR and the public from considering initial

    comments at the hearing, and left insufficient time for interested parties to review and

    respond to the initial comments filed by other parties. USTR also limited each hearing

    participant to five minutes. Docket No. USTR-2018-0026, https://beta.regulations.gov

   /document/USTR-2018-0026-0001. Approximately 350 witnesses appeared at the six-day

   hearing, and the public submitted over 6,000 comments. Id.

37. Just eleven days after receiving final comments from the public, President Trump

    announced that he had directed USTR “to proceed with placing additional tariffs on

    roughly $200 billion of imports from China.” THE WHITE HOUSE, Statement from the

    President (Sep. 17, 2018) https://www.whitehouse.gov/briefings-statements/statement-

    from-the-president-4/. Once again, the President made clear that China’s response to the

    $50 billion tariff action (i.e., List 1 and List 2 duties) motived his decision, and he

    immediately promised to proceed with “phase three” of the plan—an additional $267

    billion tariff action—“if China takes retaliatory action against our farmers or other

    industries.” Id.

38. Following the President’s announcement, USTR published notice of the final list of

    products subject to an additional duty, a list commonly known as “List 3.” 83 Fed. Reg.

    at 47,974. USTR imposed a 10% ad valorem tariff that was set to rise automatically to

                                           13
     Case 1:20-cv-00184-N/A Document 2             Filed 09/16/20     Page 14 of 22



    25% on January 1, 2019. Id. USTR determined that the List 3 duties would apply to all

    listed products that enter the United States from China on or after September 24, 2018. Id.

    USTR did not respond to any of the over 6,000 comments that it received or any of the

    testimony provided by roughly 350 witnesses. Id.

39. As legal support for its action, USTR for the first time cited Section 307(a)(1)(B) of the

    Trade Act.

40. In the months that followed, China and the United States attempted to resolve their

    differences through trade negotiations. Based on the progress made with China in those

    negotiations, the Trump Administration announced in December 2018, and again in

    February 2019, that it would delay the scheduled increase in the List 3 duty rate from 10

    to 25%. Notice of Modification of Section 301 Action: China’s Acts, Policies, and

    Practices Related to Technology Transfer, Intellectual Property, and Innovation, 83 Fed.

    Reg. 65,198 (Dec. 19, 2018); Notice of Modification of Section 301 Action: China’s Acts,

    Policies, and Practices Related to Technology Transfer, Intellectual Property, and

    Innovation, 84 Fed. Reg. 7,966 (Mar. 5, 2019).

41. In May 2019, when the trade negotiations ultimately fell apart, USTR announced its intent

    to raise the tariff rate on List 3 goods to 25%, effective either May 10, 2019 or June 1,

    2019, depending on the day of export. See Notice of Modification of Section 301 Action:

    China's Acts, Policies, and Practices Related to Technology Transfer, Intellectual

    Property, and Innovation, 84 Fed. Reg. 20,459 (May 9, 2019) (“List 3 Rate Increase

    Notice”); see also Implementing Modification to Section 301 Action: China’s Acts,

    Policies, and Practices Related to Technology Transfer, Intellectual Property, and

    Innovation, 84 Fed. Reg. 21,892 (May 15, 2019). The notice cited China’s decision to

                                            14
    Case 1:20-cv-00184-N/A Document 2               Filed 09/16/20      Page 15 of 22



    “retreat from specific commitments agreed to in earlier rounds” of negotiations as the basis

    for the increase in the duty rate. List 3 Rate Increase Notice, 84 Fed. Reg. at 20,459. Unlike

    with past imposition of new tariffs, USTR did not seek public comment but rather simply

    announced that the increase would occur. Id.

42. The duties imposed on products covered by List 3 remain in effect as of the date of this

    Complaint, with the exception of a limited number of products for which USTR granted

    exclusions from the duties. See, e.g., Notice of Product Exclusion Extensions: China’s

    Acts, Policies, and Practices Related to Technology Transfer, Intellectual Property, and

    Innovation, 85 Fed. Reg. 48,600 (Aug. 11, 2020).

43. On May 17, 2019, USTR announced its intent to proceed with List 4 covering even more

    products subject to additional duties. Under USTR’s proposal, List 4 would impose an

    additional duty of 25% ad valorem on products worth $300 billion. Request for Comments

    Concerning Proposed Modification of Action Pursuant to Section 301: China's Acts,

    Policies, and Practices Related to Technology Transfer, Intellectual Property, and

    Innovation, 84 Fed. Reg. 22,564, 22,564 (May 17, 2019). USTR explained that its decision

    was motivated by China’s “retreat[] from specific commitments made in previous

    [negotiating] rounds [and] announce[ment of] further retaliatory action against U.S.

    commerce.” Id.

44. USTR invited the public to comment on proposed List 4 and participate in a hearing. Id.

    The public submitted nearly 3,000 comments. Docket No. USTR-2019-0004,

    https://beta.regulations.gov/document/USTR-2019-0004-0001.            The     timeline    for

    participation in the hearing left little room for meaningful input as USTR required

    witnesses to submit drafts of their testimony by June 10, 2019, some seven days before

                                             15
     Case 1:20-cv-00184-N/A Document 2              Filed 09/16/20    Page 16 of 22



    the deadline for fully developed written comments, and then it again limited witnesses to

    five minutes of testimony at the hearing. Id.

45. On August 1, 2019, citing China’s failure to follow through on agricultural purchases and

    to reduce exports of fentanyl flowing into the United States, President Trump announced

    that the List 4 tariffs would become effective September 1, 2019 at a rate of 10% ad

    valorem.    @realDonaldTrump,       TWITTER      (Aug.   1,   2019,   1:26    PM    EDT),

    https://twitter.com/realDonaldTrump/status/1156979446877962243 (noting a “small

    additional Tariff of 10% on the remaining 300 Billion Dollars of goods and products

    coming from China into our Country”).

46. On August 20, 2019, USTR issued a final notice adopting List 4 in two tranches. Notice

    of Modification of Section 301 Action: China’s Acts, Policies, and Practices Related to

    Technology Transfer, Intellectual Property, and Innovation, 84 Fed. Reg. 43,304 (Aug.

    20, 2019). List 4A would impose a 10% ad valorem duty on goods worth roughly $120

    billion, effective September 1, 2019. Id. at 43,304. List 4b would impose a 10% ad

    valorem duty on the remaining goods (with limited exclusions “based on health, safety,

    national security, and other factors”), effective December 15, 2019. Id. at 43,305. Once

    again, USTR did not address any of the nearly 3,000 comments submitted or any of the

    testimony provided by witnesses, other than to claim that its determination “takes account

    of the public comments and the testimony.” Id.

47. As legal support for its action, USTR again cited Section 307(a)(1)(B) and (C) of the Trade

    Act and pointed to “China’s subsequent defensive actions taken to maintain those unfair

    acts, policies, and practices as determined in that investigation,” including retaliatory




                                            16
    Case 1:20-cv-00184-N/A Document 2                Filed 09/16/20       Page 17 of 22



    tariffs on U.S. imports, retreating from commitments during negotiations, and devaluing

    its currency as a basis for this decision. Id.

48. On August 30, 2019, USTR published notice of its decision to increase the tariff rate

    applicable to goods covered by List 4A and List 4B from 10% to 15%. Notice of

    Modification of Section 301 Action: China’s Acts, Policies, and Practices Related to

    Technology Transfer, Intellectual Property, and Innovation, 84 Fed. Reg. 45,821 (Aug.

    30, 2019). USTR explained that it increased the tariff rate because, shortly after it finalized

    List 4A and List 4B, “China responded by announcing further tariffs on U.S. goods.” Id.

    at 45,822. USTR once again cited to China’s retreat from its negotiation commitments and

    devaluation of its currency as grounds for its action. Id.

49. On December 18, 2019, as a result of successfully negotiating a limited trade deal with

    China, USTR published notice that it would “suspend indefinitely the imposition of

    additional duties of 15 percent on products of China covered by” List 4B. Notice of

    Modification of Section 301 Action: China’s Acts, Policies, and Practices Related to

    Technology Transfer, Intellectual Property, and Innovation, 84 Fed. Reg. 69,447, 69,447

    (Dec. 18, 2019). USTR also stated its intent to reduce the tariff rate applicable to products

    covered by List 4A, id., an action that ultimately became effective on February 14, 2020,

    when USTR halved the applicable duty rate, Notice of Modification of Section 301 Action:

    China’s Acts, Policies, and Practices Related to Technology Transfer, Intellectual

    Property, and Innovation, 85 Fed. Reg. 3,741 (Jan. 22, 2020).

50. In the months that followed, the United States and China implemented the limited trade

    deal that they negotiated near the end of 2019. OFFICE       OF THE   UNITED STATES TRADE

    REPRESENTATIVE, United States and China Reach Phase One Trade Agreement (Dec. 13,

                                              17
    Case 1:20-cv-00184-N/A Document 2              Filed 09/16/20        Page 18 of 22



    2019), https://ustr.gov/about-us/policy-offices/press-office/pressreleases/2019/december/

    united-states-and-china-reach.

51. The duties imposed on products covered by List 4A remain in effect as of the date of this

    Complaint. Although the proposed duties on products covered by List 4B remain

    suspended, President Trump has continued to threaten to impose them if China does not

    meet its obligations under their limited trade deal. See, e.g., @realDonaldTrump, TWITTER

    (June    22,    2020,     10:22    PM      EDT),     https://twitter.com/realDonaldTrump/

    status/1275252814206447618 (“The China Trade Deal is fully intact. Hopefully they will

    continue to live up to the terms of the Agreement!”).

                              STATEMENT OF CLAIMS

                                      COUNT ONE

(DECLARATORY JUDGMENT—VIOLATION OF THE TRADE ACT OF 1974)

52. Paragraphs 1 through 51 are incorporated by reference.

53. The Declaratory Judgment Act authorizes any court of the United States to “declare the

    rights and other legal relations of any interested party seeking such declaration, whether

    or not further relief is or could be sought.” 28 U.S.C. § 2201(a).

54. The Trade Act of 1974 does not authorize the actions taken by Defendants that resulted in

    the List 3 and List 4A tariffs.

55. Pursuant to Section 301 of the Trade Act, USTR may impose tariffs when it determines

    that “an act, policy, or practice of a foreign country is unreasonable or discriminatory and

    burdens or restricts United States commerce, and action by the United States is

    appropriate.” 19 U.S.C. § 2411(b). USTR failed to predicate its action giving rise to List

    3 and List 4 on any such determination.

                                            18
     Case 1:20-cv-00184-N/A Document 2               Filed 09/16/20     Page 19 of 22



56. If USTR concludes upon investigation that a foreign country maintains an unfair trade

    practice, Section 304 of the Trade Act requires USTR to “determine what action, if any,”

    to take within “12 months after the date on which the investigation is initiated.” 19 U.S.C.

    § 2414(a)(1)(B), (2)(B). USTR’s action giving rise to List 3 occurred in September 2018,

    more than a year after USTR initiated the Section 301 investigation on August 18, 2017.

57. Section 307 of the Trade Act does not permit Defendants to increase tariffs for reasons

    unrelated to the acts, policies, or practices that USTR investigated pursuant to Section 301

    of the Trade Act.

58. Section 307 of the Trade Act does not authorize Defendants to increase tariff actions that

    are no longer “appropriate,” but rather only to delay, reduce, or terminate such actions.

59. Plaintiff is therefore entitled to a declaratory judgment that Defendants’ actions giving rise

    to List 3 and List 4 are ultra vires and contrary to law.

                                      COUNT TWO

         (VIOLATION OF THE ADMINISTRATIVE PROCEDURE ACT)

60. Paragraphs 1 through 59 are incorporated by reference.

61. The APA authorizes the Court to hold unlawful and set aside agency action that is: “(A)

    arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law; (B)

    contrary to constitutional right, power, privilege, or immunity; (C) in excess of statutory

    jurisdiction, authority, or limitations, or short of statutory right; (D) without observance

    of procedure required by law; [or] (E) unsupported by substantial evidence.” 5 U.S.C. §

    706(2).




                                             19
    Case 1:20-cv-00184-N/A Document 2              Filed 09/16/20    Page 20 of 22



62. Defendants exceeded their authority under the Trade Act in promulgating List 3 and List

    4 and therefore acted “not in accordance with the law” and “in excess of statutory

    authority” for the reasons set forth in Count One.

63. Defendants failed to offer any evidence for any asserted “increased burden” from China’s

    intellectual property policies and practices that were the subject of USTR’s Section 301

    investigation.

64. Defendants also promulgated List 3 and List 4 in an arbitrary and capricious manner

    because they did not provide a sufficient opportunity for comment, failed to meaningfully

    consider relevant factors when making their decisions, and failed to adequately explain

    their rationale. Defendants’ preordained decision-making resulted in the unlawful

    imposition of tariffs on imports covered by List 3 and List 4.

                                           ***




                                            20
         Case 1:20-cv-00184-N/A Document 2               Filed 09/16/20      Page 21 of 22



                                    PRAYER FOR RELIEF

Wherefore, Plaintiff respectfully requests that this Court

   (1) declare that Defendants’ actions resulting in tariffs on products covered by List 3 and List

       4A are unauthorized by, and contrary to, the Trade Act;

   (2) declare that Defendants arbitrarily and unlawfully promulgated List 3 and List 4 in

       violation of the APA;

   (3) vacate the List 3 and List 4 rulemaking;

   (4) order Defendants to refund, with interest as provided for by law, any duties paid by Plaintiff

       pursuant to List 3 and List 4A;

   (5) permanently enjoin Defendants from applying List 3 or List 4 against Plaintiff and

       collecting any duties from Plaintiff pursuant to List 3 or List 4A;

   (6) award Plaintiff its costs and reasonable attorney fees; and

   (7) grant such other and further relief as may be just and proper.



                                                       Respectfully submitted,

                                                       /s/ Joseph M. Spraragen
                                                       Joseph M. Spraragen

Dated: September 16, 2020                              Grunfeld, Desiderio, Lebowitz,
                                                       Silverman & Klestadt LLP
                                                       Counsel to Plaintiff
                                                       599 Lexington Ave., FL 36
                                                       New York, NY 10022
                                                       212-557-4000
                                                       jspraragen@gdlsk.com




                                                  21
        Case 1:20-cv-00184-N/A Document 2              Filed 09/16/20    Page 22 of 22




                                CERTIFICATE OF SERVICE

Pursuant to USCIT R. 4(b) and (h), I hereby certify that on September 16, 2020, I caused
copies of Plaintiffs’ Summons and Complaint to be served on the following parties by certified
mail, return receipt requested:

Attorney-In-Charge International Trade Field Office
Commercial Litigation Branch
U.S. Department of Justice
26 Federal Plaza
New York, NY 10278

Attorney-In-Charge
Commercial Litigation Branch
U.S. Department of Justice
1100 L Street, NW Washington, DC 20530

General Counsel Joseph L. Barloon
Office of the General Counsel
Office of the U.S. Trade Representative
600 17th Street, NW
Washington, DC 20006

Chief Counsel Scott K. Falk
Office of Chief Counsel
U.S. Customs & Border Protection
1300 Pennsylvania Ave., NW
Washington, DC 20229


                                                      /s/ Joseph M. Spraragen
                                                      Joseph M. Spraragen




                                              22

10748925_1
